        Case 1:18-cv-01982-TWT Document 1 Filed 05/07/18 Page 1 of 7




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


BRIDGET WRIGHT, LAQUITA
SMITH, INDIVIDUALLY AND AS C O -
A DMINISTRATORS OF THE ESTATE                 Civil Action No. _______
OF ROBERT L. AVERY, SR.,
( DECEASED ),

              P LAINTIFFS ,
         v.
EMORY HEATHCARE, INC., EMORY
CLINIC, INC., EMORY UNIVERSITY,
INC., JOHN VEGA, M.D., JASON
MUESSE, M.D., BARRY ANDERSON,
P.A., KENNETH ODIMGBE, RRT,
CHOREEN POWELL, RN, MANJU
CHBI, RN, JOHN DOE PHYSICIANS
1-3, JANE DOE NURSES 1-3, JANET
DOE HEALTHCARE PROVIDERS 1-
3; XYZ CORPORATIONS 1-3,

              D EFENDANTS .

                              NOTICE OF REMOVAL

To:   The Honorable Judges of the United States District Court for the Northern
      District of Georgia, Atlanta Division


      Defendants Barry Anderson, Kenneth Odimgbe, Choreen Powell, and Manju

Cibi, by and through the undersigned counsel counsel, hereby give notice, pursuant



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           Case 1:18-cv-01982-TWT Document 1 Filed 05/07/18 Page 2 of 7




to 28 U.S.C. § 2679(d)(2), that they are removing the action styled Bridget Wright,

et al., v. Emory Healthcare, Inc., et al., Case No. 18A68769, currently pending in

the State Court of DeKalb County, Georgia, to the United Stated District Court for

the Northern District of Georgia, Atlanta Division.

      In support, Defendants shows as follows:

           1. On April 4, 2018, Plaintiffs filed a civil action in the State Court of

DeKalb County, Georgia, styled Bridget Wright, et al., v. Emory Healthcare, Inc.,

et al., Case No. 18A68769 (the “State Court Action”).

      2.      In the State Court Action, Plaintiffs purport to bring an action alleging

a tort claim and seeking monetary damages.

           3. At all times relevant to Plaintiffs’ Complaint, Defendants Barry

Anderson, Kenneth Odimgbe, Choreen Powell, and Manju Cibi were deemed federal

employees acting within the scope of their employment. See Certification, attached

hereto as Exhibit A.

      4.      The Federal Tort Claims Act (“FTCA”), 28 U.S.C. §§ 2671, et seq., as

amended by the Federal Employees Liability Reform and Tort Compensation Act

of 1988 (the “Westfall Act”), Pub. L. No. 100-694 §§ 5, 6, 102 Stat. 4563 (1988)

(codified at 28 U.S.C. § 2679), provides that a suit against the United States shall

be the exclusive remedy for persons with claims for damages resulting from the


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actions of federal employees taken within the scope of their office or employment.

See 28 U.S.C. § 2679(b)(1).

              5.             The FTCA provides that federal district courts shall have exclusive

jurisdiction of civil actions on claims against the United States. See 28 U.S.C. §

1346(b).

              6.             The above-captioned action is one that may be removed to this Court

pursuant to 28 U.S.C. § 2679(d)(2),

              7.             In accordance with 28 U.S.C. § 1446(a) and applicable Local Rules,

copies of all process, pleadings, and orders served upon the United States in this

action are attached hereto as Exhibit B.1

              WHEREFORE, Defendant prays that the above-captioned action now

pending in the State Court of DeKalb County, State of Georgia, be removed

therefrom to this Court, and to effect and prepare in this Court the true record of all

proceedings that may have been had in State Court of DeKalb County, Georgia.


              This 7th day of May, 2018.

                                                               Respectfully submitted,

                                                               BYUNG J. PAK
                                                               United States Attorney
                                                            
1
  In removing this action to district court, Defendants reserves the right to challenge
the sufficiency and propriety of service and service of process on Defendants.

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                            /s/ GABRIEL A. MENDEL
                            GABRIEL A. MENDEL
                            Assistant U.S. Attorney
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                            600 United States Courthouse
                            75 Ted Turner Drive, S.W.
                            Atlanta, Georgia 30303
                            Voice:     (404) 581-6000
                            Facsimile: (404) 581-4667




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1-3, JANE DOE NURSES 1-3, JANET
DOE HEALTHCARE PROVIDERS 1-
3; XYZ CORPORATIONS 1-3,

              D EFENDANTS .

                       CERTIFICATE OF COMPLIANCE
      I certify that the documents to which this certificate is attached have been

prepared with one of the font and point selections approved by the Court in LR 5.1B

for documents prepared by computer.


                                   /s/ GABRIEL A. MENDEL
                                   GABRIEL A. MENDEL
                                   Assistant U.S. Attorney


 
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1-3, JANE DOE NURSES 1-3, JANET
DOE HEALTHCARE PROVIDERS 1-
3; XYZ CORPORATIONS 1-3,

               D EFENDANTS .

                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Notice of Removal was, this day,

sent by first class mail, postage prepaid to the following:


                                 Jane Mary Lamberti
                                    Gary Andrews
                              The Cochran Firm Atlanta
                         100 Peachtree Street NW, Suite 2600
                                  Atlanta, GA 30303

 
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                           Hunter S. Allen, Jr.
                           Michael T. Sumner
                          Allen & McCain, P.C.
                      Two Midtown Plaza, Suite 1700
                       1349 W. Peachtree St., N.W.
                         Atlanta, Georgia 30309

    This 7th day of May, 2018.


                                 /s/ GABRIEL A. MENDEL
                                 GABRIEL A. MENDEL
                                 Assistant U.S. Attorney
                       




 
